                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF TENNESSEE
                            AT GREENEVILLE



LORI K. WILHOIT                         )
                                        )
V.                                      )         NO. 2:08-CV-304
                                        )
TIME INSURANCE COMPANY                  )


                                   ORDER

      Defendant’s motion to amend its answer to assert a counterclaim (Doc. 6) is

unopposed and is therefore GRANTED.

      SO ORDERED:


                                                s/ Dennis H. Inman
                                            United States Magistrate Judge




Case 2:08-cv-00304-JRG-DHI Document 8 Filed 03/03/09 Page 1 of 1 PageID #: 118
